Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 1 of 6
Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 2 of 6
Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 3 of 6
Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 4 of 6
Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 5 of 6
Case 5:06-cr-04081-DEO-LTS   Document 76   Filed 07/19/07   Page 6 of 6
